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                      United States District Court
                        District of Massachusetts

                                      )
United States of America,             )
                                      )
            Plaintiff,                )
                                      )
            v.                        )     Criminal Action No.
                                      )     19-10080-NMG
Sidoo et al,                          )
                                      )
            Defendants.               )
                                      )


                            MEMORANDUM & ORDER

GORTON, J.

       The government has charged defendants with conspiring with

William “Rick” Singer to have their children fraudulently

admitted to elite universities by, inter alia, fabricating

applications, falsifying academic and athletic credentials,

cheating on standardized tests, making payments to corrupt exam

proctors and bribing university employees and athletic coaches.

The defendants have moved to dismiss the indictment based on

alleged investigatory misconduct and the government’s failure to

turn over in a timely fashion notes taken by Singer which

concern that alleged misconduct.

  I.     Background

       The government investigation of the alleged bribery scheme

began in early-2018 and involved multiple cooperating witnesses,

Title III wiretaps and Court authorized searches. In September

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2018, six months after the investigation began, government

agents approached Singer in the midst of a meeting in which he

was suspected of being involved in criminal conduct and he

agreed to cooperate.    As part of his cooperation, Singer

consented to a wiretap of his phone and agreed to make recorded

calls to potential suspects to discuss the alleged bribery

scheme.    In the following days, Singer made calls, as directed

by the government, to parents who were either engaged in the

alleged fraud or were considering participation in the scheme.

     On October 2, 2018, Singer wrote in his iPhone “notes”

application that government agents had strong-armed him and

instructed him to lie in order to elicit incriminating

information from the target parents.       Before that date, Singer

had placed recorded calls to only one parent who is a current

defendant in this case.

     During the initial stages of his cooperation with the

government, including on October 2nd, Singer was surreptitiously

obstructing the government’s investigation by alerting potential

targets.    The government soon became aware of Singer’s

obstruction and he was subsequently charged with and pled guilty

to a single count of obstruction of justice.

     In late October, 2018, the government instructed Singer to

make recorded calls to the targets of its investigation, using a

ruse that the IRS was auditing Singer’s “charity” (Key Worldwide

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Foundation) and he needed to coordinate anticipated contacts

with them.

     Also in late October, after data from Singer’s phone had

been extracted, an Assistant United States Attorney (“AUSA”)

reviewed Singer’s iPhone notes, and saw the accusatory October

2nd note.    A contract attorney also reviewed portions of the

notes and informed the AUSAs assigned to the case about their

existence.    The government extracted data from Singer’s phone

several more times between October 2018 and March 2019.

Although the government submits that it instructed Singer not to

delete data from his phone, apparently Singer disobeyed and

deleted certain text messages to and from defendants.

     Although the government has a continuing obligation to

produce exculpatory information pursuant to Brady v. Maryland,

373 U.S. 83 (1963) and Local Rule 116.2, it did not produce

Singer’s iPhone notes until February, 2020, 16 months after an

AUSA became aware of their existence.       The government has since

admitted that this late disclosure was a mistake and that the

notes should have been provided much earlier.

    Defendants assert that Singer’s October 2nd notes indicate

that the government committed egregious misconduct by coercing

Singer into lying and fabricating evidence.        Given that alleged

misconduct and the government’s belated compliance with its

discovery obligations, defendants have moved to dismiss the

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indictments against them or, in the alternative, to suppress the

consensual recordings of Singer’s telephone calls.

  II.    Motion to Dismiss Indictments for Government Misconduct

  A. Legal Standard

       The outrageous government misconduct doctrine allows a

Court, in the most extreme of circumstances, to dismiss a

criminal indictment as a sanction for appalling government

misconduct. See United States v. Guzman, 282 F.3d 56, 59 (1st

Cir. 2002) (citing United States v. Russell, 411 U.S. 423, 431–

32).    To warrant such dismissal, the government conduct must be

so “egregious as to violate due process by ‘shocking...the

universal sense of justice.’” United States v. Therrien, 847

F.3d 9, 14 (1st Cir. 2017)(quoting United States v. Luisi, 482

F.3d 43, 59 (1st Cir. 2007); See also Russell 411 U.S. at 432

(noting for dismissal to be warranted, government misconduct

must violate “fundamental fairness shocking to universal sense

of justice.”)

       Because “the law frowns on the exoneration of a defendant

for reasons unrelated to his guilt or innocence” the government

misconduct doctrine must be invoked sparingly and only in truly

exceptional circumstances.       Guzman, 282 F.3d at 59.      Indeed, as

the government points out, the outrageous governmental

misconduct defense has never been enforced in this Circuit.

United States v. Anzalone, 923 F.3d 1, 6 (1st Cir. 2019); See

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also United States v. Santana, 6 F.3d 1, 10 (1st Cir. 1993)

(noting that such “[p]otent elixirs should not be casually

dispensed.”)

  B. The October 2nd Notes

     On October 2, 2018, Singer wrote in his iPhone notes app:

  Loud and abrasive call with agents. They continue to ask me
  to tell a fib and not restate what I told my clients to where
  there [sic] money was going – to the program not the coach and
  that it was a donation and they want it to be a payment.
  ...Essentially they are asking me to bend the truth...Liz
  raised her voice to me like she did in the hotel room about
  agreeing with her that everyone Bribed [sic] the schools. This
  time about asking each person to agree to a lie I was telling
  them.

As part of their defense, defendants contend that Singer told

the parents, and the parents believed, that their payments were

legitimate donations to universities and athletic programs, not

bribes to corrupt coaches and administrators.        Defendants

maintain that those notes demonstrate that the government

coerced Singer into lying to fabricate evidence of criminal

intent where none existed.

     The government responds that by the time Singer was

instructed to make the wiretapped phone calls, it had already

elicited substantial evidence that defendants had knowingly

committed fraud.    The government asserts that in the calls which

precipitated the October 2nd notes, they did not instruct Singer

to fib or lie but rather sought to have him describe explicitly

the alleged scheme in order to make it crystal clear to any

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parents not already committed to Singer’s “program” that their

payments were bribes not just donations.

     With respect to the conduct of its agents, the government

has submitted affidavits of IRS Special Agent Elizabeth Keating,

FBI Agent Laura Smith and AUSA Eric Rosen to explain the

encounters with Singer preceding his October 2nd note.         The

government has also produced an FBI-302 report of a recent

interview with Singer in which he corroborates that accounting.

The agents recount that, while meetings with Singer were

contentious, they did not instruct him to fabricate evidence or

elicit false admissions.     The affidavits categorically deny that

any member of the investigative team ever directed Singer to

lie, attempt to entrap suspects or elicit false admissions of

guilt.

     The government explains that the reason the agents did not

investigate Singer’s October notes at the time was because the

AUSAs assigned to the case 1) knew he was an unwilling

cooperator who had subsequently obstructed the investigation, 2)

understood, based upon the evidence in the case, that the

purpose of the calls was to offer those parents an opportunity

either to confirm or deny their participation in the scheme and

3) knew that statements made on the subsequent calls

corroborated other evidence in the case.



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     As is acknowledged by defense counsel, government agents

are permitted to coach cooperating witnesses and create ruses

designed to elicit incriminating information from willing

participants during the course of an investigation.        Government

agents are most definitely not, however, permitted to suborn the

commission of a crime.

     After consideration of the extensive briefing, affidavits

and other information provided by the government and defendants,

the Court is satisfied that the government has not lied to or

misled the Court.   Singer’s October 2nd statement was 1) made

before Singer was fully cooperative with the government; 2)

relative (primarily) to a sting operation involving parents not

yet committed to Singer’s “program”; and 3) insofar as it did

relate to future calls to be made to defendants, was in response

to the agents’ efforts to get Singer to corroborate, not

fabricate, evidence.     The affidavits of the IRS and FBI agents

and AUSA Rosen rebut defendants’ contrary accusations.

     To the extent the defendants are dissatisfied with Singer’s

purported denials of any wrongdoing in connection with his

rehearsed telephone calls, they will have ample opportunity to

cross examine him if and when he testifies at trial.        Whether

Singer’s calls in October, 2018, were consistent with his prior

representations of his “program” and whether they demonstrate

that defendants believed their payments to be legitimate

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donations rather than bribes is an issue squarely for the jury

after a trial on the merits.

  C. The Failure to Turn over the Notes

     As a second ground for dismissal of the indictment (or, in

the alternative, for suppression of evidence garnered from the

wiretap), defendants maintain that the government has violated

its obligation under the Brady doctrine by failing to disclose

the existence and contents of Singer’s iPhone notes before

February, 2020.

     Although government attorneys assigned to prosecute this

case became aware of Singer’s October 2nd note later in in

October, 2018, the defendants were not provided a copy of that

note until February of 2020, long after it should have been

disclosed under the Local Rules and Brady.        The government

acknowledges that counsel should have turned over the note

earlier.   By way of partial explanation, the government

maintains that, based on counsel’s initial review of the note in

2018, they believed it was prepared for Singer’s attorney and

therefore subject to the attorney client privilege.

     Notwithstanding the potential privilege, the government

should have produced Singer’s October 2nd note much sooner than

it did.    The government’s failure to do so was irresponsible and

misguided.   It was not, however, willful and is partly explained

(but not excused) by the AUSAs’ imprudent underestimation of the

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context, relevance and potential exculpatory nature of the

notes.   More importantly, the note was disclosed more than eight

months before the scheduled trial and before defendants’

deadline for the filing of dispositive motions.        Defendants have

ample time to prepare for trial with the benefit of the subject

note and have not been unduly prejudiced by its late disclosure.

The indictment will not be dismissed on that ground.

  III. Suppression of Recordings

     In the alternative to dismissal of the indictment, the

defendants maintain that the Court should suppress the

consensual recordings of Singer’s phone calls made in October,

2018, because those recordings are tainted by the alleged

investigatory misconduct.

     A federal court possesses the inherent supervisory

authority to suppress evidence in criminal cases if that

evidence is the product of or tainted by extreme misconduct.

See United States v. Horn, 29 F.3d 754, 760 (1st Cir. 1994).

That power is, however, to be used sparingly and only in

situations involving flagrant misconduct and prejudice.         United

States v. Osorio, 929 F.2d 753, 763 (1st Cir. 1991); Horn, 29

F.3d at 760 (noting that it is inappropriate for courts to

attempt to use the supervisory power to justify an extreme

remedy when, “short of such heroic measures, the means are at

hand to construct a satisfactory anodyne more narrowly tailored

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to the objective.”)

     For the reasons expounded above, the Court will not

suppress the consensual recordings.      The Court is satisfied that

government’s counsel has not lied to or attempted to mislead the

Court or fabricated evidence.     Although counsel erred by failing

to review and turn over Singer’s notes in a timely fashion, that

error has not unduly prejudiced these defendants.        Accordingly,

suppression of the consensual recordings is not warranted.

  IV.     Evidentiary Hearing

     Defendants seek an evidentiary hearing to examine further

the specific circumstances of Singer’s October 2nd note and to

seek additional information about the government’s

investigation.    But the Court perceives no necessity for an

evidentiary hearing.    Any unsettled factual questions have been

adequately addressed on the record by the proffered affidavits

of federal agents and an AUSA which unequivocally deny the

investigatorial misconduct.     Those affidavits are supported by

other submissions in response to the Court’s Memorandum and

Order entered April 17, 2020 (Docket No. 1085).

     An evidentiary hearing is required if a defendant can make

a sufficient showing that not only are there material facts in

doubt but also that those facts cannot be resolved on the

papers.    United States v. Staula, 80 F.3d 596, 603 (1st Cir.

1996)(noting that “it is apodictic that a criminal defendant is

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not entitled, as a matter of right, to an evidentiary hearing on

every motion that he deigns to file.”); See also United States

v. Lilly, 983 F.2d 300, 310-11 (1st Cir. 1992).

     Accordingly, defendants have failed to meet their burden of

establishing an unresolved issue of material fact that would

warrant an evidentiary hearing and their request for such a

hearing will therefore be denied.

                                 ORDER

  For the foregoing reasons, after consideration of defendants’

memorandum in support of their motion to dismiss the indictment

(Docket No. 972); the government’s opposition to that motion

(Docket No. 1066); defendants’ reply in support of the motion

(Docket No. 1086); the government’s sur-reply in opposition

(Docket No. 1104), supported by affidavits of agents and an

Assistant United States Attorney; and the defendants’ response

to the government’s sur-reply (Docket No. 1141), the defendants’

motion to dismiss the indictment or in the alternative to

suppress evidence and order an evidentiary hearing (Docket No.

971) is DENIED.


So ordered.


                                         /s/ Nathaniel M. Gorton
                                         Nathaniel M. Gorton
                                         United States District Judge
Dated May 8, 2020


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